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                                         (TRANSLATION )
    Page 1:

                            Work Registration Certificate       (QR code)

    Registration No. : Qian Zuo Deng Zi -2023-F-00894250
    Work Name: OUHOE Honey Wax Spray Set.
    Category of Work: Art Work
    Author: Jiaming (440508******1018)
    Owner of Copyright: Jiaming Zhang (440508******1018)


    Date of Completion: March 19, 2023
    First date of Publishing: March 19, 2023

    Pursuant to The Regulations of Voluntary Registration of Work, it is approved by Copyright
    Bureau of Guizhou Province, upon the application of Jiaming Zhang, that the following work
    shall have copyright.

    Date of Registration: Oct. 11, 2023
    Official Seal of Registrar: Copyright Bureau of Guizhou Province, Special Seal for Voluntary
    Registration of Work

    Supervised and Produced by National Copyright Bureau of the People’s Republic of China




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    Page 2:

                              Demonstration Page of Works (QR code)
    Registration No. : Qian Zuo Deng Zi -2023-F-00894250




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                                 CERTIFICATION OF ACCURACY

    I, Jianyin Liu, certify under oath that I am proficient in both English and Chinese and the above
    translation is accurate to the original Chinese document.

                                                         /s/ Jianyin Liu




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